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       EXHIBIT A
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July 22, 2020

VIA EMAIL AND FIRST CLASS MAIL
Mr. Brewster Kahle
Founder and Digital Librarian
Internet Archive
300 Funston Avenue
San Francisco, California 94118

       RE: Internet Archive and Copyright Infringement

Dear Mr. Kahle,

I am counsel for the Recording Industry Association of America ("RIAA"). The RIAA, as you
may know, is a trade association whose members create, manufacture and/or distribute sound
recordings representing the great majority of all legitimate recorded music consumption in the
United States. Among the RIAA's members are the most well-known and respected record
companies in the world, including Sony Music Entertainment, Universal Music Group, and
Warner Music Group. l write on behalf of the RIAA's member companies concerning the
serious matter of your and Internet Archive's infringement of RIAA member companies'
copyrights on and through the Internet Archive website.

Although the Internet Archive is rife with infringing copies of sound recordings, perhaps the
most prominent example of this infringement is the "Great 78 Project." Through the Great 78
Project, you and Internet Archive (collectively "you") have reproduced thousands of sound
recordings in which RlAA member companies own or exclusively control copyrights, and have
made those recordings available to the public for unrestricted download and streaming, all
without the consent of the rights owners. These recordings include well-known and
commercially available recordings by such legendary artists as Elvis Presley, Duke Ellington,
Billie Holiday, Ray Charles, Chuck Berry, Frank Sinatra, Ella Fitzgerald, Louis Armstrong, and
Hank Williams, to name just a few. Your unauthorized reproduction, distribution and public
performance of these recordings is a plain violation of the RIAA member companies' rights




                       RECORDING INDUSTRY ASSOCIATION OF AMERICA
                    1000 F STREET, NW, 2 nd FLOOR, WASHINGTON, DC 20004
                  PHONE: 202. 775.0101 FAX: 202. 775. 7253 WEB: www.riaa.com
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under the Classics Protection and Access Act ("Classics Act"), 17 U.S.C. § 1401, and constitutes
nothing less than piracy on a massive scale.

Indeed, the brazenness of your infringement has already attracted the attention of the federal
government: On June 10, 2020, the Chairman of the United States Senate Judiciary
Committee's Subcommittee on Intellectual Property wrote to you to raise "serious alarms
about copyright infringement" in connection with your use of sound recordings, including
expressly through the Great 78 Project. In your July 10 response to that letter, you claim to be
"focused ... on recordings that have been historically difficult for researchers to access." This
claim is demonstrably false, as even the most cursory review of commercial music streaming
platforms like Spotify, Apple Music, Amazon Music, and YouTube shows the ready availability of
thousands of the sound recordings that you purport to be "preserving" through the Great 78
Project.

Your letter also asserts that "Pre-1972 recordings that are not being commercially exploited ...
can be digitized and distributed by libraries like the Internet Archive, and used by others for
non-commercial purposes." Even assuming that your use of these recordings is
"noncommercial" (which we do not concede), your assertion misconstrues the law in
fundamental respects.

First, despite your claimed status as a "library," neither the Great 78 Project nor the Internet
Archive more generally qualifies as a "library" for purposes of the Classics Act or Section 108 of
the Copyright Act. 1

Second, the Classics Act imposes strict conditions on noncommercial uses of protected sound
recordings, none of which you have satisfied. For example, a prospective noncommercial user
must first make a "good faith, reasonable search" of Copyright Office records and music
services to determine "whether the sound recording is being commercially exploited by or
under the authority of the rights owner ...." 17 U.S.C. § 1401(c). It is obvious that you have
made no such search at all, let alone a "good faith, reasonable" one.

Moreover, RIAA's member companies have identified thousands of their pre-1972 sound
recordings in schedules filed with the U.S. Copyright Office, which are easily searchable online
at https:llwww.copyright.gov/music-modernization/pre1972-soundrecordings/search-
soundrecordings.htm1. Our preliminary review of the Great 78 Project shows that thousands of
the sound recordings you have infringed are included on these schedules, which entitles RIAA's
members to recover statutory damages with respect to each such infringement, as well as
attorneys' fees in connection with the enforcement of their rights. To be clear, it is not
necessary for these recordings to appear in the Copyright Office schedules for them to be
protected; your unauthorized use of RIAA member companies' sound recordings that are not
on those schedules is also infringing. The inclusion of recordings on the Copyright Schedules


1 The suggestion in your letter that the "fair use" doctrine may also shield you from liability is

ludicrous, and merits no further substantive response.
Mr. Hrewster
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simply means that the RIAA member companies are entitled to recover statutory damages and
attorneys' fees, if they so elect.

In addition to the Great 78 Project, the Internet Archive also offe~s-to the public a vast number
of infringing copies of RIAA member companies' sound recordfngs for unauthorized streaming
and/or download. For example, the "Myspace Dragon Hoard (2008-2010)" 2 appears to contain
thousands of unauthorized copies of RIAA member companies' sound recordings, and thus
represents yet another. repository of copyright infringement on a massive scale.

This letter serves as formal notice of our claim that your unauthorized uses of RIAA member
companies' sound recordings, through the Great 78 Project and the Internet Archive website
more generally, is patently unlawful and violates the RIAA member companies' rights under the
Classics Act, 17 U.S.C. § 1401, as well as the Copyright Act more broadly. We demand that you
immediately cease and desist from the infringement of all RIAA member companies' sound
recordings, and that you inform us in writing that you have done so by no later than August 3,
2020.

Notwithstanding the foregoing, we are open to discussing an amicable resolution of our claims.
If you wish to have such a discussion, please contact me immediately. In the meantime, as you
are on notice of these claims against you, we trust that you will comply with your legal
obligation to preserve all evidence that is in any way related to the Great 78 Project, the
Myspace Dragon Hoard, and your use of copyrighted sound recordings on the Internet Archive
more generally. This would include not just physical documents, but electronic information
(including emails, digital files, and server data) as well.

This letter is without waiver of any rights or remedies the RIAA member companies may have
or may pursue, and all such rights and remedies are hereby expressly reserved.




Kenneth L. Doroshow
Chief Legal Officer
Recording Industry Association of America
1000 F St, NW
2nd Floor
Washington, DC 20004
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